              Case 18-41168                      Doc             Filed 05/20/19                       Entered 05/20/19 17:38:21          Desc Main
 Fill in this information to identify the case:
                                                                     Document                         Page 1 of 4
B 10 (Supplement 2) (12/11)              (post publication draft)
 Debtor 1              Mark Nicholas D'Amato
                       __________________________________________________________________

 Debtor 2               Kimberly Sue Birkeland D'Amato
                        ________________________________________________________________
 (Spouse, if filing)

                                         Eastern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                                                      (State)
 Case number            18-41168
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                                    10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  U.S. Bank Trust National Association, As Trustee of the Lodge Series III Trust                    Court claim no. (if known):
 Name of creditor:                ______________________________________                                                            1-1
                                                                                                                                    _________________
                                                                                                                    6 ____
                                                                                                                   ____ 9 ____
                                                                                                                           6 ____
                                                                                                                               7
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                109 Links Ln
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  Annetta TX 76008
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

        Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.
        Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date                                   $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

        Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:                                        01    01 2019
                                                                                                           ____/_____/______
                                                                                                           MM / DD   / YYYY

        Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                                             (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                                    +   (b)   $ __________
        c. Total. Add lines a and b.                                                                                                            (c)   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                                        ____/_____/______
        due on:                                                                                            MM / DD / YYYY


Form 4100R                                                              Response to Notice of Final Cure Payment                                           page 1
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Debtor 1        Mark Nicholas D'Amato
                _______________________________________________________                                              18-41168
                                                                                              Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
         all payments received;
         all fees, costs, escrow, and expenses assessed to the mortgage; and
         all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

         I am the creditor.
         I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               û /s/ Kristin Zilberstein
                   __________________________________________________
                   Signature
                                                                                              Date    05 20 2019
                                                                                                      ____/_____/________




 Print             Kristin Zilberstein
                   _________________________________________________________                  Title   Authorized Agent
                                                                                                      ___________________________________
                   First Name                      Middle Name         Last Name




 Company           Ghidotti | Berger
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           1920 Old Tustin Ave
                   _________________________________________________________
                   Number                 Street


                   Santa Ana CA 92705
                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone      949 _____–
                   (______) 427 _________
                                2010                                                                kzilberstein@ghidottiberger.com
                                                                                              Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2
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1    Kristin Zilberstein, Esq. (24104960)
     GHIDOTTI | BERGER
2    1920 Old Tustin Ave.
     Santa Ana, CA 92705
3
     Tel: (949) 427-2010
4    Fax: (949) 427-2732
     kzilberstein@ghidottiberger.com
5
     Attorney for Creditor
6
     U.S. Bank Trust National Association, As Trustee of the Lodge Series III Trust
7
                              UNITED STATES BANKRUPTCY COURT
8                        EASTERN DISTRICT OF TEXAS - SHERMAN DIVISION

9
     In Re:                                               )   CASE NO.: 18-41168
10                                                        )
     Mark Nicholas D'Amato and Kimberly Sue               )   CHAPTER 13
11   Birkeland D'Amato,                                   )
12                                                        )   CERTIFICATE OF SERVICE
              Debtors.                                    )
13                                                        )
                                                          )
14
                                                          )
15                                                        )
                                                          )
16                                                        )
                                                          )
17
18
                                      CERTIFICATE OF SERVICE
19
20
              I am employed in the County of Orange, State of California. I am over the age of
21
     eighteen and not a party to the within action. My business address is: 1920 Old Tustin
22
     Avenue, Santa Ana, CA 92705.
23
24            I am readily familiar with the business’s practice for collection and processing of

25   correspondence for mailing with the United States Postal Service; such correspondence would
26
     be deposited with the United States Postal Service the same day of deposit in the ordinary
27
     course of business.
28
     On May 20, 2019 I served the following documents described as:

                     REQUEST FOR SPECIAL NOTICE
                                                      1
                                       CERTIFICATE OF SERVICE
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1
     on the interested parties in this action by placing a true and correct copy thereof in a sealed
2
3    envelope addressed as follows:

4    (Via United States Mail)
     Debtor                                              Debtor’s Counsel
5    Mark Nicholas D'Amato                               Mark S. Rubin
6    109 Links Ln                                        Rubin & Associates, P.C.
     Aledo, TX 76008                                     13601 Preston Rd
7                                                        Suite 500E
     Joint Debtor                                        Dallas, TX 75240
8
     Kimberly Sue Birkeland D'Amato
9    109 Links Ln                                        Trustee
     Aledo, TX 76008                                     Carey D. Ebert
10                                                       P. O. Box 941166
     U.S. Trustee                                        Plano, TX 75094-1166
11
     US Trustee
12   Office of the U.S. Trustee
     110 N. College Ave.
13   Suite 300
14   Tyler, TX 75702

15
     _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
16   the United States Postal Service by placing them for collection and mailing on that date
17   following ordinary business practices.

18   ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
     Eastern District of California
19
20   __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct.
21
            Executed on May 20, 2019 at Santa Ana, California
22
23   /s / Lynette Curtin
     Lynette Curtin
24
25
26
27
28



                                                     2
                                      CERTIFICATE OF SERVICE
